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EXHIBIT 1
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DECLARATION IN SUPPORT OF ERMAKSAN TURKEY’S
MOTION TO DISMISS

I, Serhan Senyurt, under penalty of perjury pursuant to the laws of the United States of
America, declare and affirm that the following statements are true and correct.

1. lam the Chief of International Sales and Project & Coordination Executive of Ermaksan
Turkey (“Ermaksan”). I have personal knowledge about the business operations and corporate
structure of Ermaksan.

2. The facts set forth in this declaration are true and correct and are based upon information
personally known to me or made upon information and belief after appropriate investigation.

3. Ermaksan is a privately-owned company organized under the laws of Turkey with its
principal place of business in Bursa, Turkey.

4, Ermaksan is not incorporated, registered, or licensed to do business in Massachusetts.

5. Ermaksan does not have employees, including management employees, assets, offices, or
facilities in Massachusetts.

6. Ermaksan does not have an agent for service of process in Massachusetts.
7. Ermaksan has not and does not own or lease any property in Massachusetts.
8. Ermaksan has not and does not sell any products in Massachusetts.

9. Ermaksan does not ship its press brake machines to customers in Massachusetts or
anywhere else, rather its customers pick up the e product from Turkey.

10. Ermaksan does not have a bank account in and does not pay taxes in Massachusetts.

11. Ermaksan has not and does not consent to be sued in state or federal court of
Massachusetts.

12. Ermaksan has not directly conducted any advertising or marketing activities to or in
Massachusetts.

13. Ermaksan has earned no income from sales in Massachusetts.

14. Ermaksan did not sell the subject machine, Type CNCSAP 12X220, Model 2007,
Machine Number $N20071136 to any company or person in Massachusetts.

15. The subject machine was sold to AJ Machinery, a company based in Minnesota, in 2007
as evidenced by the invoice attached.

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16. The terms of sale for the subject machine were delivery “EXWORKS”, meaning that the
buyer was responsible for transportation of the product from our factory in Turkey. See attached
invoice,

17. In selling the subject machine to AJ Machinery from Turkey, Ermaksan had no control
over the destination of the machine and had no knowledge that it would eventually be
transported or used or sold in Massachusetts.

18. Ermaksan has never participated in any tradeshow in Massachusetts.

19. Ermaksan does not directly service its products in the United States.

20. All service enquiries for Ermaksan machines from the United States are forwarded to
Ermak USA.

21. Ermak USA markets, distributes, and services Ermaksan products in the United States.
22. Ermaksan does not own Ermak USA and Ermak USA is not a subsidiary of Ermaksan.
23. Ermaksan and Ermak USA have separate management and keep separate records.

24, Ermaksan was not involved in the alteration, change, or replacement of the foot pedal of
the subject machine.

25. Ermaksan was not involved in the alteration, change, or replacement of the warning
labels on the subject machine.

26. Ermaksan has never communicated with or done business with Cape Cod Fabrications,
Inc.

27. Ermaksan receives no income and has never received any income from the cookies on its
website, ermaksan.com.tr.

28. Ermaksan machines complied with and still does comply with CE standards which
certifiy that a product has met EU health, safety, and environment requirements which ensure
consumer safety.

29. I have read the foregoing declaration, and the factual statements contained therein are
true and correct to the best of my knowledge, information, and belief.

Signed in Turkey, under penalty of perjury pursuant to the laws of the United States of America
this th day of October, 2023. .

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AQ /2%/2028

Date:

Serhan Senyurt

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Pec toer2s—Page Sore
: SIPARIS BILGI FORMU

MAKINA SERINO:

$N20071136

URUN ADI : CNC SAP 3760 x 200 TN (S$)
[A J MACHINERY (U.S.A
SIPARIS TARIHI : 25.09.2007 TESLIM TARIHI : 11.10.2007
Kontrolér + DELEM DA 66W (RENKLI GRAFIK) KONTROLOR “ 1
Eksen +7 EKSEN (Y1, Y2, X1, X2, Z1, Z2, R)V Ps 1
Bogaz Derinligi : 400 MM BOGAZ DERINLIGi v 2 1
Ust Kalip : AMERIKAN UST KALIP Vv fogs 7
Alt Kaltp : 2009 - 4016 = M.460 - C.1050.R ALTKALIP 1
oup Tutucular : AMERIKAN PROMECAM (HIZLI DEGISTIRILEBILIR} \/ 1
Wila Sistemi : MOTORLU WILA SISTEMI =U” 1
Arka Koruma : FOTOSEL (FIESSLER CAT.04) ARKA KORUMA L~ 1
On Koruma :PCSS PLC'L] LAZER ON KORUMA © 4
Kirst : GIFT AYAK PEDALLI “vo j
Hidrolik Sistem : HOERBIGER HIDROLIK SISTEM i 1
Elekink Sistem! : SIEMENS ELEKTRIK SISTEM] = U~ 1
Elektrik Gerilimi : 220-440 V 60/3 ELEKTRIK GERILIM] _- 1
Renk — !RAL 7035 , RAL 9007 RENKLER i~ 1
Etiket s INGILIZCE ETIKET uw 1
Kullanma Kilavuzu - : INGILIZCE KULLANMA KILAVUZU  L+ 1
ve Dayama Sistemi > ERMAKSAN SEKSEN ARKADAYAMA (X:1000MM R:160MM) 17 1
Diger :X1+X2 AXIS 1
Diger :Z1+Z2AXIS U 1
OZEL ISTEKLER Lon
MAKINANIN TUM AYARLARI INCH'LI OLACAKTIRO ¥ OD yo"
MAKINANIN OZERINDE CNC SAP 12'X220" YAZACAKTIRU a2 LL
MAKINA FUAR MAKINASIDIR, YAGLI SEVK EDILECEKTIRG -Tebuik ( Ly.
AZAMI DIKKAT EDILMESINI RICA EDERIZ.0. cal.
MAKINA 7 EKSENDIR ( Y1-Y2, X1-X2, 21-22, Ry :
AJ MACHINERY'NIN SN20070859 MAKINESI ILE BERABER SEVK EDILECEKCTIR.
SAI SORUMLUSY—~) 7 SANS MUDURU Y? PLANLAMA 26-09 Teas
aul ozganys —/ |__| NEStifwi Ozkan _ Ld,
C/” — REV.0O

F.MIl.005 -- Leo 4X

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PROFORMA INVOICE

A J MACHINERY
20000-176th St. Big Lake 55309 55309MN_ U.S.A

TEL (763) 262-8070 FAX (763) 242-8071 denine@ajmachinery.net www.ajmachineryonline.com

ORDER NO : 3N20071136 PROF. DATE : 30.03.2023

ORDER DATE : 25.09.2007 REF. NO ;

DESCRIPTION OF THE GOODS QTY UNIT PRICE TOTAL PRICE

CNC SAP 3760 x 200 TN HIGH SPEED SYNC. HYD. PRESS BRAKE 1 64.500 USD 64.500 USD

ERMAKSAN 2 AXIS BACKGAUGE (X:1000MM R:160MM) 1 1.000 USD 1.000 USD

X1 + X2 AXIS 1 9.200 USD 9.200 USD

71 +72 AXIS 1 8.300 USD 8.300 USD
NET TOTAL : 83.000 USD

SPECIFICATIONS QTY

DELEM DA 66W COLOR GRAPHICAL CONTROLLER

7 AXIS (Y1, Y2, X1, X2, Z1, 22, R)

400 MM THROAT DEPTH

AMERICAN TOP TOOL

2009 - 4016 = M.460-R - C.1050.R BOTTOM TOOLING
AMERICAN PROMECAM QUICK RELEASE

MOTORIZED CROWNING SYSTEM

PHOTOCELL (CAT.04) REAR GUARD FIESSLER/M2000 SICK
LASER SAFETY DOUBLE BEAM FRONT GUARD & PCSS PLC
DOUBLE FOOT PEDAL CONTROLLER

HOERBIGER HYDRAULIC SYSTEM

SIEMENS ELECTRIC SYSTEM

220-440 V 60/3 ELECTRIC VOLTAGE

RAL 7035 , RAL 97007 COLORS

ENGLISH LABEL

ENGLISH MANUAL 1

PLEASE CHECK, STAMP AND SIGN TO CONFIRM

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Above prices and specifications are subject to change affer 10 days from the document date without notice.

DELIVERY DATE : 11.10.2007
DELIVERY TERM : EXWORKS / BURSA
PAYMENT CONDITION : 20% WITH THE ORDER, 80% BEFORE LOADING
OUR BANK DETAILS : CITIBANK A.S. / BURSA BRANCH / TURKEY
EUR IBAN CODE : Re EUR ACCOUNT NR : a
USD IBAN CODE : oe) USD ACCOUNT NR : a
SWIFT CODE : CITITRIX
INT. SALES EXECUTIVE SALES MANAGER

GUROL GEROGLU NESLIHAN OZKAYAN

WARRANTY : 12 months for parts, Our warranty is limited to replacing parts found to be defective, consumable items not included.
We reserve the right to invoice service visits found to be necessary due to incorrect use of the machine or lack of maintenance.
The responsibility of ERMAKSAN is limited to the clause here above. This limitation excludes liability for indirect damages which
include loss of production, turnover or profits.

INSTALLATION AND TRAINING : Installation and training is nof included in the machine's price and will be invoiced separately if requested.

Company Address : Ermaksan Mak. San. Ve Tic. Ltd. $ti. Yeni Yalova Yolu 15. Km 16335 Ovaakea / Bursa / Turkey
TEL +90 224 247 17 00 FAX +90 224 2467 14.40 hitp://www.ermaksan.com.ir ermaksan@ermaksan.com.t

